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   6                       UNITED STATES DISTRICT COURT
   7                      CENTRAL DISTRICT OF CALIFORNIA
   8
   9                                               Case No.: 2:21-cv-02046-DSF (PVCx)
       LEEMANUEL WEILCH,
 10
                   Plaintiff,                      NOTICE OF SETTLEMENT OF
 11                                                ENTIRE CASE
            vs.
 12
 13 CP VENTURE TWO LLC; and DOES
 14 1 to 10,
 15                Defendants.
 16
 17         Notice is hereby given that Plaintiff Leemanuel Weilch ("Plaintiff") and
 18 Defendants have settled the above-captioned matter as to the entire case. Parties
 19 requests that the Court grant thirty (30) days from the date of this filing for Plaintiff
 20 to file dispositional documents in order to afford Parties time to complete settlement.
 21
 22 DATED: June 03, 2021                         SO. CAL EQUAL ACCESS GROUP

 23
 24                                                      /s/ Jason J. Kim
 25                                                JASON J. KIM
                                                   Attorney for Plaintiff
 26
 27
 28

                                                          NOTICE OF SETTLEMENT OF ENTIRE CASE
